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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

JOSEPH CORNELIUS YOUNG III, ET                               CIVIL ACTION
AL
VERSUS                                                       NO. 20-2165
RHONDA LEDET, ET AL.                                         SECTION “J” (2)

                                     ORDER

      The Court, after considering the complaint, the record, the applicable law, the

Magistrate Judge’s Findings and Recommendation, and finding that as of this date

plaintiff has filed no objections to the Magistrate Judge’s Findings and

Recommendation,    hereby    approves   the   Magistrate    Judge’s   Findings   and

Recommendation and adopts it as its opinion. Accordingly,

      IT IS ORDERED that Joshua Baudoin’s claims are DISMISSED WITHOUT

PREJUDICE for failure to prosecute pursuant to FED. R. CIV. P. 41(b).

      New Orleans, Louisiana, this 9th day of November, 2020.




                                              __________________________________
                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
